          Case 1:19-cr-00113-DLH Document 14 Filed 07/02/19 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

United States of America,            )
                                     )     ORDER
             Plaintiff,              )
                                     )
       vs.                           )
                                     )
Chantel Ducheneaux,                  )     Case No. 1:19-mj-207
                                     )
             Defendant.              )
_______________________________________________________________________________

       On July 2, 2019, defendant filed a “Waiver of Preliminary Hearing.” The court accepts

defendant’s waiver, finding that it was made knowingly and intelligently, voluntarily, and upon

advice of counsel. Additionally, based on defendant’s waiver, the court finds that there is probable

cause on the face of the complaint and supporting affidavit to believe that defendant may have

committed the offense charged in complaint.

       IT IS SO ORDERED.

       Dated this 2nd day of July, 2019.

                                                     /s/ Clare R. Hochhalter
                                                     Clare R. Hochhalter, Magistrate Judge
                                                     United States District Court
